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 3
                           UNITED STATES DISTRICT COURT
 4                       NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION
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 8   DONALD J. TRUMP, et al.,                 Case No: 3:21-cv-09044-WHA

 9                      Plaintiffs,
            v.                                [PROPOSED] ORDER GRANTING
10                                            PLAINTIFFS’ MOTION TO LIFT STAY
     META PLATFORMS, INC., et al.,            FOR LIMITED PURPOSE
11
                        Defendants.           Judge: Hon. William H. Alsup
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      [PROPOSED] ORDER GRANTING PLAINTIFFS’                         3:21-cv-09044-WHA
      MOTION TO LIFT STAY FOR LIMITED
      PURPOSE
      Case 3:21-cv-09044-WHA Document 181 Filed 09/19/23 Page 2 of 2



 1          Plaintiffs Donald J. Trump, Elizabeth Albert, Kiyan and Bobby Michael, Jennifer Horton,
 2   Andres Cabos, Magalys Rios, and Maria Rodrigues-Fresneda (“Plaintiffs”) have moved the Court
 3   to lift the stay in effect in this matter for the limited purpose of holding a Case Management
 4   Conference at which Plaintiffs will request the Court’s permission to bring a motion seeking
 5   leave to file a Second Amended Complaint. Defendants Meta Platforms, Inc. and Mark
 6   Zuckerberg filed an opposition to the motion. Interested Party the United States has taken no
 7   position on the motion. Plaintiffs submitted the motion for decision on the papers without oral
 8   argument.
 9          After due consideration of the papers submitted, and good cause appearing therefore, it is
10   hereby ORDERED that:
11          Plaintiffs’ Motion to Lift Stay for Limited Purpose is GRANTED.
12          A Case Management Conference will be held in this matter on November 2 at 11
13   a.m. The parties are ordered to submit a Joint Case Management Statement no later than seven
14   days before the Conference.
15          IT IS SO ORDERED.
16   Dated: September 19, 2023.                           ______________________________
17                                                        HONORABLE WILLIAM H. ALSUP
                                                          UNITED STATES DISTRICT JUDGE
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      [PROPOSED] ORDER GRANTING PLAINTIFFS’                                       3:21-cv-09044-WHA
      MOTION TO LIFT STAY FOR LIMITED
      PURPOSE
